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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION


UNITED STATES OF AMERICA                      :
                                              :
v.                                            :    CRIMINAL ACTION FILE
                                              :    NO. 1:20-CR-452-SDG-CCB
JOHN WESLEY WADE,                             :
                                              :
      Defendant.                              :



              DEFENDANT WADE’S MOTION TO SUPPRESS
          GPS EVIDENCE AND PHYSICAL EVIDENCE SEIZED IN
             UNLAWFUL SEARCH AND BRIEF IN SUPPORT

      Defendant, JOHN WESLEY WADE (“Wade”), respectfully moves this Court

to suppress GPS evidence and any object, article, thing or other evidence gained by

State and Government law enforcement agents ("Government agents") pursuant to an

unauthorized, illegal and warrantless search of a house which Wade occupied as a

legal, authorized guest.

                                         1.

      On or about October 28, 2020, Wade was a lawful occupant of Apartment #1 at

657 Lawton Street, SW, Atlanta, Georgia (the “Wade Residence”). The Wade

Residence was unlawfully searched by Government agents.
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                                          2.

      Evidence was found in the Wade Residence and obtained as a result of the

search of the Wade Residence. Wade is adversely affected by the violation of his

constitutional rights set forth herein because the UNITED STATES OF AMERICA,

its prosecutor and its agents (individually and collectively “the Government”) intend

to use this evidence found in the Wade Residence to prosecute Wade on the charges

in the indictment.

                                          3.

      Wade has standing to challenge the admissibility of the evidence obtained by

this unlawful search and seizure based on the house being his primary residence.

                                          4.

      Whether or not Government agents obtained a search warrant, the search of the

Wade Residence was conducted without legal authority or probable cause justifying

such action. Illinois v. Gates, 462 U.S. 213 (1983); Terry v. Ohio, 392 U.S. 1 (1968).

                                          5.

      Government agents had no factual basis to believe that the Wade Residence

contained any evidence of criminal activity prior to the search. Wade did not do

anything to justify any reasonable suspicion that he possessed evidence of criminal

activity. Gates, supra; Terry, supra.




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                                            6.

      No authorized person consented to the search of the Wade Residence. Any

acts or words which might arguably be construed as such a consent were

unintentional, unlawfully induced or coerced by Government agents and tainted by an

unlawful entry into the Wade Residence. United States v. Mendenhall, 446 U.S. 544

(1980); Bumper v. North Carolina, 391 U.S. 543 (1968); United States v. Santa, 236

F.3d 662 (11th Cir. 2000); United States v. Elsoffer, 671 F.2d 1294, 1298 (11th Cir.

1982).

                                            7.

      The search and seizure were not incident to any lawful arrest. However, even

if the search was incident to a lawful arrest, the search was unlawful in that it

exceeded the permissible scope of a search incident to arrest. New York v. Belton,

453 U.S. 454 (1981); Chimel v. California, 395 U.S. 752, 763-68 (1969); United

States v. Lyons, 706 F.2d 321 (D.C. Cir. 1983); United States v. Aguiar, 61 F.2d

1296, 1304 (5th Cir.), cert. denied, Morejon-Pacheco v. United States, 449 U.S. 827

(1980); United States v. Cadena, 582 F.2d 1252, 1263 n. 26 (5th Cir. 1978).

                                            8.

      Even if someone had given some form of legal consent to the search of the

Wade Residence, the search conducted pursuant to that consent was revoked,

withdrawn and unlawful in that it exceeded the scope of said consent. Walter v.



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United States, 447 U.S. 649 (1980); Lo-Ji Sales, Inc. v. New York, 442 U.S. 319

(1979); United States v. Rackley, 742 F.2d 1266, 1270-71 (11th Cir. 1984).

                                           9.

      The search was unlawfully conducted without a proper search warrant. There

was no probable cause, exigent circumstances or other legal justification under the

totality of the circumstances authorizing the search without fulfilling the requirement

of obtaining a proper search warrant. United States v. Ross, 456 U.S. 798, 808 (1982);

Carroll v. United States, 267 U.S. 132, 161-62 (1925); United States v. Tovar-Rico,

61 F.3d 1529 (11th Cir. 1995).

                                          10.

      The search of the Wade Residence was in violation of the Fourth Amendment

to the Constitution of the United States of America and Article I, Section I, Paragraph

XIII of the Constitution of the State of Georgia. These constitutional provisions

protect and secure the people against unreasonable searches and seizures.

                                          11.

      The Government has the burden of proving the legality of the search and

seizure and any exigent circumstances relied upon to justify the search. Under the

facts of this case, the Court should review the Government’s factual contentions with

great skepticism because of the massive intrusion on Wade’ Fourth Amendment

rights. Coolidge v. New Hampshire, 403 U.S. 443 (1971); United States v. Holloway,



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290 F.3d 1331 (11th Cir. 2002); United States v. Tovar-Rico, 61 F.3d 1529 (11th Cir.

1995); Bumper, supra; United States v. Bowles, 625 F.2d 526 (5th Cir. 1980).

                                           12.

      Government agents obtained data and information from a GPS system that it

intends to use as evidence against Wade. This data and information were illegally

obtained and are wholly unreliable as evidence.

                                           13.

      A pre-trial hearing on these motions would serve the interests of the Court,

Wade, the Government, justice and judicial economy because the Court’s pretrial

ruling on this motion may well facilitate a disposition of the charges against Wade.

      WHEREFORE Defendant JOHN WESLEY WADE, prays for an evidentiary

hearing on these Motion and demands that the GPS evidence obtained and the

evidence obtained by virtue of the aforementioned illegal search and seizure be

suppressed. The United States Attorney, her agents and any other witnesses called by

the Government to testify against Wade in this case should be enjoined from

mentioning, alluding to, identifying, or otherwise calling the attention of the jury to

the existence of said evidence.




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                                 Respectfully submitted,


                                 /s/ Leif A. Howard
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                          CERTIFICATE OF SERVICE

      I hereby certify that I electronically filed the foregoing Defendant Wade’s

Motion to Suppress GPS Evidence and Physical Evidence Seized in Unlawful Search

and Brief in Support with the Clerk of Court for filing and uploading to the CM/ECF

system, which will automatically send e-mail notification of such filing to the

following opposing attorney of record:

             Bret Hobson, Esq.
             Assistant United States Attorney
             Suite 600, Richard B. Russell Building
             75 Ted Turner Drive, SW
             Atlanta, Georgia 30303
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             This 17th day of May, 2021.


                                       /s/ Leif A. Howard
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